
53 N.Y.2d 953 (1981)
National Bank of North America, Respondent,
v.
Rosalee Paskow, Appellant.
Court of Appeals of the State of New York.
Argued April 28, 1981.
Decided June 2, 1981.
Anthony Carpinello and Gladys S. Wolf for appellant.
Joseph A. Di Benedetto and Edward N. Meyer for respondent.
Chief Judge COOKE and Judges JASEN, GABRIELLI, JONES, WACHTLER, FUCHSBERG and MEYER concur.
*954MEMORANDUM.
The order of the Appellate Division should be affirmed, with costs.
Defendant does not deny execution of the guarantee or claim that she ever gave the written notice of termination *955 which it required. She argues before us that under the holding in Bankers Trust Hudson Val., N. A. v Christie (68 AD2d 969, on reargument 72 AD2d 614) her guarantee was terminated nonetheless when the overdrafts sought to be collected from her were incurred. We need not express any opinion concerning the holding of that case, however, for the factual predicate for its application is wholly missing from this record.
Nor can defendant successfully defend on the ground that the account title showed the corporation whose debts she guaranteed to have been acting as agent. While a disclosed agent does not normally incur personal responsibility, he may in some situations. Here, however, the corporation has in a prior action been held liable for the overdrafts. Defendant's corporate principal having been held liable, defendant is, under the terms of her guarantee, also liable.
Order affirmed, with costs, in a memorandum.
